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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

 DAVID TABORDA,
      Petitioner,
                                                               Case Nos.
           v.                                                  3:03cv2024 (SRU)
                                                               3:01cr162 (SRU)
 UNITED STATES OF AMERICA,
      Respondent.

                                              RULING

       David Taborda has filed pro se a petition to vacate, set aside or correct his sentence,

pursuant to 28 U.S.C. § 2255. Taborda has also moved the court to appoint counsel.

       Taborda pled guilty to conspiring to possess with intent to distribute and to distribute

more than five kilograms of cocaine in violation of 21 U.S.C. § 846. I sentenced him principally

to 120 months’ imprisonment. The Court of Appeals affirmed his conviction. See United States

v. Taborda, No. 02-1580, 2003 WL 1913477 (2d Cir. 2003).

       Taborda raises principally one claim in his petition. He argues that a state trooper

illegally stopped the van in which he was a passenger and conducted a search and seizure in

violation of his rights under the Fourth Amendment.1 Because Taborda waived that argument by

pleading guilty and by failing to raise it on direct appeal, his petition for relief under section 2255

is denied.

I.     Background

       On October 26, 2000, Taborda and one of his co-defendants, Jaime Mendez, were



       1
         Taborda also asserts that he was denied effective assistance of counsel because his
attorney filed but failed to pursue a motion to suppress the evidence seized from the van. The
attorney did file a motion to suppress, but Taborda subsequently pled guilty and the motion
became moot.
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arrested on the Massachusetts Turnpike. A state police officer had stopped their van, and a

search of the vehicle resulted in the seizure of several kilograms of cocaine. Taborda and

Mendez were charged by Massachusetts authorities. On November 7, 2001, a federal grand jury

returned a superseding indictment, charging Taborda with violations of 21 U.S.C. §§ 841(a)(1)

and 846: unlawful possession with intent to distribute more than five kilograms of cocaine and

conspiracy to do the same.

       On June 3, 2002, pursuant to the terms of a plea agreement between Taborda and the

federal government, Taborda pled guilty to conspiring to possess with intent to distribute and to

distribute more than five kilograms of cocaine. Prior to pleading guilty, Taborda had filed a

motion to suppress the evidence seized from the van, but that motion was not pursued or decided.

       On September 17, 2002, I sentenced Taborda to the statutory minimum term of 120

months’ imprisonment. Taborda appealed. He argued that I should have granted him “safety

valve” relief pursuant to 18 U.S.C. § 3553(f) and sentenced him to a term shorter than the

mandatory minimum. The Court of Appeals rejected that argument and upheld Taborda’s

conviction. On appeal, Taborda did not raise any arguments concerning the vehicle stop or

search and seizure.

       In the related Massachusetts state proceedings, Taborda and Mendez filed motions to

suppress the evidence seized during the motor vehicle stop. After a hearing, Superior Court

Judge Volterra denied those motions, finding that the officer was “justified in making a routine

traffic stop” and that “probable cause was established from the odor that indicated the transport

of cocaine in the vehicle.” Marginal endorsement orders: Commonwealth v. Mendez, Crim.

Docket No. MICR 2000-1557 (May 11, 2001); Commonwealth v. Taborda, Indictment No. 2000-


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1558-001 (May 11, 2001) (Exhibit A to Gov’t Memo. doc. # 294).

II.    Discussion

       Section 2255 provides that a federal prisoner may petition the court that imposed his

sentence to vacate, set aside or correct the sentence if it was imposed in violation of the

Constitution or laws of the United States. 28 U.S.C. § 2255.

       A.      Waiver

       Generally, for a claim to be raised on collateral review in a section 2255 motion, a

petitioner must have preserved it on direct appeal. “Where a defendant has procedurally

defaulted a claim by failing to raise it on direct review, the claim may be raised in habeas only if

the defendant can first demonstrate either ‘cause’ and ‘actual prejudice,’ or that he is ‘actually

innocent.’” Bousley v. United States, 523 U.S. 614, 622 (1998) (internal citations omitted).

       Taborda has failed to show cause for the waiver. His petition does not mention any

reason why the claim was not pursued before me or why he did not raise it on direct appeal.

There is no suggestion that there is any newly discovered evidence. Cf. United States v.

Helmsley, 985 F.2d 1202, 1206 (2d Cir. 1993) (petitioner can demonstrate cause by showing that

alleged claims are based on newly discovered evidence).

       Taborda has also failed to show any actual prejudice. A petitioner can show prejudice by

establishing that the alleged error worked to his actual and substantial disadvantage. United

States v. Frady, 456 U.S. 152, 170 (1982). Taborda chose to plead guilty to participation in the

conspiracy. He has not established that the alleged violation worked to his disadvantage.

        Additionally, “[w]hen a criminal defendant has solemnly admitted in open court that he

is in fact guilty of the offense with which he is charged, he may not thereafter raise independent


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claims relating to the deprivation of constitutional rights that occurred prior to the entry of the

guilty plea.” See Tollett v. Henderson, 411 U.S. 258, 267 (1973).

       By pleading guilty and failing to raise the argument on direct appeal, Taborda has waived

his claim that the state trooper’s stop, search and seizure were unconstitutional.

       B.      Vehicle Stop and Subsequent Search and Seizure

       Even if Taborda’s claim were not procedurally barred, the vehicle stop was constitutional.

In addition, Taborda does not have standing to challenge the constitutionality of the search of the

van and seizure of the cocaine.

               1.      Vehicle Stop

       A traffic stop is a limited seizure within the meaning of the Fourth Amendment. See

Whren v. United States, 517 U.S. 806, 809-10 (1996).2 “[T]he decision to stop an automobile is

reasonable where the police have probable cause to believe that a traffic violation has occurred.”

Id. at 810. Accord United States v. Scopo, 19 F.3d 777, 781 (2d Cir. 1994) (“When an officer

observes a traffic offense – however minor – he has probable cause to stop the driver of the

vehicle.”).

       Based on the evidence presented before her, Judge Volterra found that the state trooper

was justified in making a routine traffic stop because the van failed to stay in marked lanes.

Because there was, thus, probable cause to believe that a traffic violation had occurred, the stop

was not unconstitutional.



       2
         The government has acknowledged that Taborda has standing to challenge the
constitutionality of the vehicle stop even though he was merely a passenger and has not asserted
any interest in the vehicle or its contents. Gov’t Memo. at 6, n.2, citing, e.g., United States v.
Muyet, 946 F. Supp. 302, 305 (S.D.N.Y. 1996).

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               2.      Lack of Standing to Challenge Search and Seizure

       Taborda does not have standing to challenge the search of the vehicle and seizure of the

cocaine. Absent an affirmative assertion of a property or possessory interest in the automobile or

property seized, a mere passenger lacks standing to challenge a search of a vehicle. See Rakas v.

Illinois, 439 U.S. 128, 148-49 (1978). Taborda has not asserted a property or possessory interest

in the van. Likewise, he has not asserted an interest in any of the property seized. Taborda, thus,

lacks standing to challenge the constitutionality of the search and seizure.3




       Taborda’s motions to vacate his sentence (doc. # 221) and to appoint counsel (doc. # 222)

are DENIED. A certificate of appealability will not issue because Taborda has not made a

“substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2).



       It is so ordered.

       Dated at Bridgeport, Connecticut, this 10th day of September 2006.


                                                       /s/ Stefan R. Underhill
                                                               Stefan R. Underhill
                                                               United States District Judge




       3
        If the initial stop had been unconstitutional, the evidence seized in the subsequent search
would have been subject to exclusion under the fruit-of-the-poisonous tree doctrine. See, e.g.,
United States v. Kimball, 25 F.3d 1, 4-6 (1st Cir. 1994).

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